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 5

 6 Attorneys for Plaintiff
   United States of America
 7

 8                               IN THE UNITED STATES DISTRICT COURT

 9                                  EASTERN DISTRICT OF CALIFORNIA

10
     UNITED STATES OF AMERICA,                           CASE NO. 2:11-CR-216
11
                                  Plaintiff,             STIPULATION AND ORDER TO CONTINUE
12                                                       JUDGMENT AND SENTENCING AND SET A
                            v.                           STATUS HEARING REGARDING SENTENCING
13
     TIFFANY TUNG,                                       DATE: December 11, 2014
14                                                       TIME: 9:00 a.m.
                                  Defendant.             COURT: Hon. Morrison C. England, Jr.
15

16
            Plaintiff United States of America, by and through its counsel of record, and defendant Tiffany
17
     Tung, by and through her counsel of record, hereby stipulate as follows:
18
            By prior order this matter was set for entry of Judgment and Sentence on December 11, 2014.
19
     The parties hereby request that the sentencing hearing be vacated, and that the December 11, 2014
20
     hearing be converted to a status conference regarding judgment and sentencing.
21
            In support of this stipulation, the parties represent that co-defendant Ray is scheduled for a jury
22
     trial on December 1, 2014. Defendant Tung has entered a plea agreement that contemplates her
23
     cooperation in the government’s prosecution of defendant Ray. Defendant Tung is out of custody.
24
            Accordingly, the parties request that a status regarding Judgment and Sentencing be scheduled
25
     for December 11, 2014, after the date when the trial of defendant Ray is expected to have concluded, at
26
     which time a schedule for disclosure of the PSR can be coordinated with the parties, the Court, and the
27
     probation officer.
28


      STIPULATION AND ORDER REGARDING SENTENCING          1
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 1

 2         SO STIPULATED.

 3

 4 Dated: November 20, 2014                                  BENJAMIN B. WAGNER
                                                             United States Attorney
 5

 6                                                   By: /s/ MATTHEW G. MORRIS
                                                         MATTHEW G. MORRIS
 7                                                       Assistant United States Attorney
 8

 9 Dated: November 20, 2014                          By: /s/ Robert Byers (auth 10/20/14)
                                                         ROBERT BYERS
10                                                       Counsel for the Defendant
11

12                                                   ORDER

13         IT IS SO ORDERED.

14
     DATED: December 2, 2014
15

16                                                 _____________________________________________
17                                                 MORRISON  N C. ENGLLAND, JR, C
                                                                                CHIEF JUDG  GE
                                                   UNITED ST TATES DISSTRICT COU  URT
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      STIPULATION AND ORDER REGARDING SENTENCING         2
